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                IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOtYTHERN DISTRICT OF GEORGIA           hH 2     1 10 : L45
                            WAYCROSS DIVISION

UNITED STATES OF AMERICA            )

V.

MARK ASHLEY GRIFFIN,                       CASE NO. CR505-8

       Defendant.



                              ORDER

       Before the Court is the Government's 'Motiori Under

Fed. R. Crim. P. 46(e) (3) for Judgment of Default Against

Surety on Appearance Bond." (Doc. 51.) For the following

reasons, the Government's Motion is GRANTED.

       Or' March 3, 2005, Defendant Mark Ashley Griffin was

charged with Possession with Intent to Distribute a

Schedule II Controlled Substance and related offenses. At

Defendant's bond recommendation hearing, Magistrate Judge

Graham set bond at $25,000.00.           The sum of $2,500.00 was

posted in bail for Defendant and is currently on deposit

with the Court.

       On September 30, 2005, Defendant entered a guilty plea

as to Count One of the indictment. On December 14, 2005,

the Court sentenced Defendant to 110 months incarceration
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and ordered him to report for service of his sentence on

January 17, 2006. Defendant has failed to report.

     On January 25,         2008,    the Court granted the

Government's Motion for Declaration of Forfeiture of Bail

and declared the $2,500.00 in bail forfeited.            The Court

gave Defendant or his sureties a period of thirty days to

show cause why the forfeiture of bail should be set aside.

     On February 24, 2008, the Court received a letter from

Defendant's mother, asking that the forfeiture be set

aside. She states that he has not been in contact with her

son since he fled and that she was the one who had called

the police and prompted his arrest. She informs the Court

that she suffers from serious medical conditions and

requests a return of the $2,500.00 she posted as bail on

behalf of her son.

     The Court finds that Defendant's mother has failed to

show good cause for the Court to set aside the forfeiture

of bail.      The Court is not inclined to set aside a

forfeiture of bail under anything less than extraordinary

circumstances. Defendant's mother has demonstrated no such

extraordinary circumstances here.

     Accordingly, it is ORDERED that a Judgment of Default

against the surety and principal for the entire appearance


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bond amount of $25,000.00 be entered.         In addition, it is

ORDERED that the $2,500.00 bail, previously forfeited by

the Court's Order dated January 25, 3008, plus any lawful

interest., be transferred to the Treasury of the United

States.

     SO ORDERED this   2/- day of March, 2008.


                           WILLIAM T. MOORE, JR.,   IEF JUDGE
                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA




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